Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 1 of 20 PageID: 1
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 2 of 20 PageID: 2
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 3 of 20 PageID: 3
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 4 of 20 PageID: 4
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 5 of 20 PageID: 5
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 6 of 20 PageID: 6
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 7 of 20 PageID: 7
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 8 of 20 PageID: 8
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 9 of 20 PageID: 9
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 10 of 20 PageID: 10
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 11 of 20 PageID: 11
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 12 of 20 PageID: 12
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 13 of 20 PageID: 13
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 14 of 20 PageID: 14
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 15 of 20 PageID: 15
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 16 of 20 PageID: 16
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 17 of 20 PageID: 17
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 18 of 20 PageID: 18
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 19 of 20 PageID: 19
Case 2:06-cv-03226-ES-SCM Document 1 Filed 07/17/06 Page 20 of 20 PageID: 20
